PLAINTIFFS’ EXHIBIT 4
                             FIRST DRAFT OF ECONOMIC REPORT


TO:              Scott Michael Moore, Esq.
                 Moore International Law, P.C.
                 Rockefeller Center
                 45 Rockefeller Plaza
                 20th floor
                 New York, N.Y.      10111
                 (212) 332 3474
                 smm@milopc.com

FROM:            Edmund H. Mantell, Ph.D.
                 Consulting Economist
                 5 Carthage Lane
                 Scarsdale, N.Y.    10583
                 (914) 725 4882
                 EMantell@pace.edu

DATE:            January 2, 2019

RE:              Almedina Spahic, administrator of the estate of Himzir Ziga
                 v.
                 International Center for Transitional Justice

                 United States District Court (S.D.N.Y.)
                 Case No.: 18-CV-57 (ALC) (RWL)

==================================================================

1      INTRODUCTION
       This Economic Report analyses the economic losses sustained by the survivors
of the above-named decedent by reason of his death.

2      FACTUAL INFORMATION
       The decedent (Himzir Ziga) was a white male. His date of birth was May 31,
1974. His nationality was Serbo-Croatian. His date of death was January 24, 2016. At
the date of death he was 41.7 years old. The cause of his death was malaria.
       The decedent was employed by the defendant in the capacity of a “Finance
Officer.”1 The decedent’s primary place of employment and his residence were in
Brussels, Belgium. He was a citizen of France.


1
    ICTJ indeterminate-term employment contract for employees, dated and executed in Brussels, Belgium, Article
1. (Translation from French) The decedent’s employment duties are described in Article 1.



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       The decedent’s contract of employment at his start date was for a fixed period
beginning August 26, 2013. On that date the decedent’s gross monthly remuneration
was 3344 euros. The decedent’s employment contract also provided that the decedent
would receive a monthly allowance of 100 euros “…as a flat rate reimbursement of
entertainment expenses.”
        The renewal of the decedent’s employment contract referenced in footnote 1
below was for an indeterminate term and his monthly gross remuneration was increased
to 3428 euros.2 The monthly flat rate allowance of 100 euros was continued.
       The Billet de paie issued to the decedent from April 2015 through January 2016
shows a monthly remuneration of 3514 euros.3 For the two year period from 2014 to
2016 the decedent’s monthly remuneration increased at a mean annual rate of 2.5
percent.
       Section 4.5 of the EMPLOYEE HANDBOOK (page 24) published by the
defendant is titled 403(b) RETIREMENT/SAVINGS PLAN (TIAA-CREF.) 4 It states:

           “Retirement/Savings benefits are a component of ICTJ’s competitive total
           compensation package and very important to the employee’s welfare.”

           The defendant established a defined contribution retirement savings plan.

           All regular full-time employees are automatically participants in the 403(b)
           plan on the first day of employment…”

           Subsection (b) of Section 4.5 provides:

           “Each year, ICTJ may make a contribution to each employees’ account of
           an amount determined by ICTJ. The employer contribution amount may
           change at ICTJ’s discretion and is based on the organization’s decisions
           on the annual distribution of resources.”

        The decedent is survived by both of his parents as well as his brother and his
sister. Their dates of birth are displayed below.

           Father’s date of birth: January 15, 1950
           Mother’s date of birth: October 5, 1949

2
    The effective date of the renewal contract was July 28, 2014
3
    The Billet de paie bears the imprimatur of Securex, Secrétariat Social
4
    Revised and Restated: April. 15, 2013.

                                                           2

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         Brother’s date of birth: July 29, 1978
         Sister’s date of birth: June 30, 1972

       Hereafter the parents and the siblings will be referred to collectively as the
survivors.
       The surviving parents reside in Strasbourg, France. The preparer of this
Economic Report has been advised that the decedent transferred money to his parents
every month. The amount of the monthly transfer in the year of his death was 1200
euros.5
       The preparer of this Economic Report has been advised that the decedent’s
average aggregate monthly personal self-maintenance expenditures in the year of his
death was 1300 euros.6

4      ASSUMPTIONS
       The preparer of this Economic Report has been instructed to adopt the following
assumptions:
4.1    If the decedent had not died in year 2016 as a result of malaria he would have
survived to his statistical life expectancy.
4.2. Pursuant to assumption 4.1, the decedent would have remained employed by the
defendant for an uninterrupted period of years terminating in the year he reached the
age corresponding to the statistical retirement age of European males.
4.3    Pursuant to assumption 4.2, the decedent would have resided in Belgium for the
remainder of his life.
4.4    The decedent would have continued to transfer money to his surviving parents
every month for the remainder of their lives. The transfers would have continued in an
undiminished amount until the last of them to die.
4.5    The decedent’s siblings will survive to the statistical life expectancy of each.


5      DEFINITION OF THE ECONOMIC LOSSES SUSTAINED BY THE SURVIVORS
       The assumptions in Section 4 suffice to define the economic losses sustained by
the survivors. It consists of the algebraic sum of four cash flow streams:

Cash flow 1 is defined as the decedent’s gross employment remuneration pursuant to
assumption 4.2.


5
    Information on monetary transfers to the decedent’s parents provided by the surviving brother, Dino Ziga.
6
    Information on the decedents’ self-maintenance expenditures provided by the surviving brother, Dino Ziga.

                                                        3

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Cash flow 2 is defined as the decedent’s personal consumption expenditures from the
date of his death to the date corresponding to his statistical life expectancy.

Cash flow 3 is defined as the decedent’s aggregate monetary transfers to his parents
pursuant to assumption 4.4.

Cash flow 4 is defined as the value of the decedent’s estate at the date of his death,
pursuant to assumption 4.1 Cash flow 4 is calculated as Cash flow 1 – Cash flow 2 –
Cash flow 3.

6      CONCLUSIONS
       The table below displays the aggregate values of the economic losses to the
survivors..

                               DISCOUNTED ECONOMIC LOSS SUSTAINED
                                   BY THE SURVIVORS OF HIMZIR ZIGA
                             All entries on this exhibit are denominated in Dollars


                         LOSS TO SURVIVING PARENTS                             $205,259
                         LOSS TO THE ESTATE                                    $316,958
                                            TOTAL ECONOMIC LOSS                $522,217




7      PARAMETRIC ASSUMPTIONS
7.1    Pursuant to assumption 4.1, it is assumed the decedent would have survived to
age 69, corresponding to May 31, 2043.7 Hereafter the period of years from January
2016 to May 31, 2043 will be referred to as measuring period 1.
7.2    Pursuant to assumption 4.2, it is assumed the decedent would have remained
employed by the defendant to the date when the decedent reached the age equal to the
mean retirement age of men in the European Union. That is age 64.28, corresponding
to July 30, 2038.8 Hereafter the period of years from January 2016 to July 30, 2038 will
be referred to as measuring period 2.


7
   Assumption 7.1 is derived from statistical data relevant to males indigenous to Eastern Europe. Published by the
Population Reference Bureau, World Population Data Sheet, 2018, based on publications from official statistical
yearbooks and bulletins of particular countries and the United Nations, the Department of Economic and Social
Affairs, (Population Division) of the UN.
8
   https://tradingeconomics.com.

                                                        4

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7.3    It is assumed the decedent’s father will survive to age 69, corresponding to
January 2019.9
7.4    It is assumed the decedent’s mother will survive to age 78, corresponding to
October 2027. Hereafter the period of years from January 2016 to 2027 will be referred
to as measuring period 3.10
7.5    It is assumed the decedent’s brother will survive to age 69, corresponding to July
2047. 11

7.6    It is assumed the decedent’s sister will survive to age 78, corresponding to June
2050. 12

7.7    It is assumed that monthly cash flow 1 will increase at a mean annual rate of
2.134 percent in year 2017.13
7.8    It is assumed the monthly cash flow 1 will increase at a mean annual rate of
2.582 percent in year 2018.14
7.9    It is assumed that monthly cash flow 1 will increase at a mean annual rate of
2.008 percent in every year of measuring period 1 subsequent to year 2018.15
7.10 It is assumed the monthly cash flow 2 will increase at a mean annual rate of
2.134 percent in year 2017.16
7.11 It is assumed the monthly cash flow 2 will increase at a mean annual rate of
2.582 percent in year 2018.
7.12 It is assumed the monthly cash flow 2 will increase at a mean annual rate of
2.008 percent in every year of measuring period 1 subsequent to year 2018.
7.13 It is assumed that cash flow 2 will increase in year 2028 by an amount equal to
37 percent of cash flow 3 in the previous year.
7.14 It is assumed the monthly cash flow 3 will increase at a mean annual rate of
2.134 percent in year 2017.
7.15 It is assumed the monthly cash flow 3 will increase at a mean annual rate of
2.582 percent in year 2018.
7.16 It is assumed the monthly cash flow 3 will increase at a mean annual rate of
2.008 percent in every year of measuring period 3 subsequent to year 2018.

9
   Same source cited in footnote 7
10
    Same source cited in footnote 7.
11
    Same source cited in footnote 7.
12
    Same source cited in footnote 7
13
   Assumption 7.7 is based on the annual increase in the consumer price index in Belgium in year 2017. Global-
rates.com.
14
   Assumption 7.8 is based on the annual increase in the consumer price index in Belgium in year 2018. Global-
rates.com.
15
   Assumption 7.9 is based on the mean annual long-term rate of increase in the consumer price index in Belgium.
Global-rates.com.
16
    Assumptions 7.10, 7.11, 7.12 7.14., 7.15 and 7.16 are based on the source cited in footnote 13.

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7.17 The cash flows denominated in Euros in years 2016, 2017 and 2018 are
converted to U.S. dollars by applying the mean Dollar/Euro exchange rates in each
year. 17
7.18 The cash flows denominated in Euros for all years after 2018 are converted to
U.S. dollars by applying a Dollar/Euro exchange rate of 1.20681.18
7.19 The future cash flows denominated in U.S. dollars are discounted to present
value by applying a discount rate of 3 percent.19

8     AGGREGATE CASH FLOWS
      EXHIBIT 1 attached is a tabular display of the discounted dollar values of each of
the aggregate cash flows defined in Section 5.

9       COMPLIANCE WITH Fed. Rules of Civ. Procedure (a)(2)(B)
9.1     EXHIBIT 2 displays information displaying the preparer’s professional
qualifications.
9.2     EXHIBIT 3 displays citations to publications authored by the preparer in the
previous ten years.
9.3     EXHIBIT 4 displays citations to cases in which the preparer testified as an expert
economist at a trial or a deposition during the previous four years.




__________________________
Edmund H. Mantell, Ph.D.




17
   Dollar/Euro exchange rates published by Federal Reserve Bank of St. Louis. https://fred.stlouisfed.org.
18
   Assumption 7.18 is based on the mean annual Dollar/Euro exchange rate derived from the statistical data
compiled and published by the Federal Reserve Bank of St. Louis.
19
   U.S. Department of the Treasury, Daily Treasury Yield Curve Rates. December 26, 2018.

                                                       6

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                                   EXHIBIT 1

        SUMMARY STATEMENT OF THE DISCOUNTED ECONOMIC
        LOSSES SUSTAINED BY THE SURVIVORS OF HIMZIR ZIGA

              All entries on this exhibit are denominated in Dollars
            The cash flows antedating year 2019 are not discounted

PERIOD OF THE LOSS: JANUARY 24, 2016 TO YEAR END 2018
DECEDENT'S GROSS ANNUAL BASE SALARY                 $143,741
DECEDENT'S PERSONAL CONSUMPTION EXPENDITURES        ($53,177)
DECEDENT'S TRANSFER OF HIS INCOME TO PARENTS          $49,086
DECEDENT'S RESIDUAL EARNINGS                          $41,478
                        ECONOMIC LOSS TO PARENTS AND ESTATE                         $90,564



PERIOD OF THE LOSS: YEAR 2019 TO JULY 30, 2038 (age 64.28)
DECEDENT'S GROSS ANNUAL BASE SALARY                           $946,493
DECEDENT'S PERSONAL CONSUMPTION EXPENDITURES                ($411,961)
DECEDENT'S TRANSFER OF HIS INCOME TO PARENTS (to year 2027)   $156,173
DECEDENT'S RESIDUAL EARNINGS                                  $378,359
                        ECONOMIC LOSS TO PARENTS AND ESTATE                        $534,532



PERIOD FROM AUGUST 1, 2038 TO MAY 31, 2043 (age 69)
DECEDENT'S POST-RETIREMENT CONSUMPTION EXPENDITURES                              ($102,879)



        DISCOUNTED ECONOMIC LOSS SUSTAINED BY SURVIVORS                            $522,217




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                                    EXHIBIT 2


Curriculum Vitae of Edmund H. Mantell
5 Carthage Lane
Scarsdale, N.Y.     10583
(914) 725 4882
fax (914) 722 4147
e-mail address Emantell@pace.edu


EMPLOYMENT EXPERIENCE

1980 to present    Professor of Finance and Economics
                   Chairman of the Department of Finance, 1998 to 2000
                   Lubin School of Business
                   Pace University
                   1 Pace Plaza
                   New York, N.Y. 10038

1975 to 1980       Managing Director
                   Economic Research Department
                   IBM World Trade Corporation
                   World Headquarters
                   Armonk, N.Y.

1971 to 1975       Vice-President and Chief Economist
                   John Hancock Mutual Life Insurance Company
                   Corporate Headquarters
                   Boston, Massachusetts

EDUCATION

B.A. in Economics, 1965                      State University of New York at Oneonta
M.A. in Economics and Finance, 1967          University of Pennsylvania
Ph.D. in Economics and Finance, 1972         University of Pennsylvania




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                                      EXHIBIT 3
            Publications authored by Edmund H. Mantell from 2007 to 2017


On the Political Economy of Binational Counter-Terrorism The American Economist
Vol. LI, No. 2, Fall 2007

A Probabilistic Theory of Entrepreneurial Financing Annals of Economics and
Finance Vol 9-1, (May 2008)

A Theory of the Risks of Venture Capital Financing American Journal of Economics
and Business Administration vol. 1, no. 2, (December 2009)

Economic Signaling and Distributive Efficiency of Judicial Decisions Journal of Social
Sciences, 6(2), (April 2010)

Venture Capital Financing and the Probability of a Successful Launch International
Review of Applied Financial Issues and Economics, Vol. 3, Issue 2, (June 2011)

Distributive Efficiency in Jurisprudence. International Journal of Humanities and
Social Science. Vol. 1, No. 9 (July 2011)

Rational Reserve Pricing in Sequential Auctions Atlantic Economic Journal, 2012,
DOI 10.1007/s11293-012-9345-z,

Inflation Expectations, Business Taxation and the Incentive to Invest in Depreciable
Capital Goods. Journal of Business and Economics Research, Vol. 11, No. 3, March
2013.

Determining Appropriate Corporate Tax Rate, THE HILL Congress Blog, April 12, 2013,
http://thehill.com/congress-blog/economy-a-budget/293577-determining-appropriate-
corporate-tax-rate

A Theory of Underwriters’ Risk Management in a Firm-commitment Initial Public
Offering. Review of Quantitative Finance and Accounting, Vol. 43. No. 2, July 2014,
DOI: 10.1007/s11156-014-0466-0

Women’s Representation at Elite Levels in Science, Technology, Engineering and
Mathematics in the United States. International Journal of Arts and Humanities, Vol.
1, No. 3, October 2015, http://ijah.cgrd.org/index.php/54-contact/90-vol-1-no-3-october-
2015




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Agency Conflict in Pricing Initial Public Equity Offerings in the United States.
International Research Journal in Applied Finance. Vol VII, No. 11, November 2016,
DOI: 10.07011/article-4

The Aleatory Distribution of a Human Aptitude or a Talent in a Finite Population.
International Journal of Arts and Humanities. Vol. 2, No. 6 (December 2016)

The Economic Theory of Utility Applied to a Web-based Search for a Romantic Partner.
Advances in Allied Social Sciences Research Journal. Vol. 4, No. 1. (January 25,
2017) pp. 185-184. DOI:10.14738/assrj.41.2639

A Theory of Financial Distress in Start-Up Companies. International Research Journal
of Applied Finance. Vol. VIII, No. 9, (September 2017)




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                                      EXHIBIT 4


        CASES IN WHICH EDMUND H. MANTELL, Ph.D., RENDERED TESTIMONY
       IN THE CAPACITY OF AN EXPERT WITNESS IN ECONOMICS, 2014 TO 2018


Robert Bertuglia and Laro Maintenance Systems, Examination Before Trial, United
States District Court (SDNY) October 2014

Georgia Dimoulas v New York Queens Hospital, et. al. Queens County Supreme
Court, February 2015

Estate of Roma v Orange Regional Medical Center. Orange County Supreme Court,
May 2015

Jacob Enriquez v Laura Garabedian, M.D., Queens County Supreme Court, April 2016

Flavia Abreu v Amir Convenience, New York County Supreme Court, April 2017

Debra Monche v Mitchell Auerbach, M.D., et. al., Bronx County Supreme Court,
November 2017

Kathryn Junger and Robert F. Danzi, as Co-Adminstrators of the Estate of George
Johnson, Deceased and Kathryn Junger individually v Harpreet Singh, MD et. al.
United States District Court (Western District of New York) Examination Before Trial,
January 2018

Dorothy Baker v Collins Building Services Inc., et. al. New York County Supreme
Court, March 2018

Estate of Brian Bernard v Leddy, Erie County Supreme Court, August 2018




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                      Ziga et al v. ICTJ, No. 18-cv-57 (SDNY)                                001274
                               Plaintiffs Disclosures
